Case 5:23-cv-05118-TLB Document 106-33   Filed 11/01/23 Page 1 of 16 PageID #: 2632




                         EXHIBIT B
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 12 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:946
                                                                               2633




 1 ELIZABETH A. SPERLING (State Bar No. 231474)
   BROOKE H. BOLENDER (State Bar No. 340689)
 2 ALSTON & BIRD LLP
   333 South Hope Street, 16th Floor
 3 Los Angeles, CA 90071-1410
   Telephone: (213) 576-1000
 4 Facsimile: (213) 576-1100
   E-mail:     elizabeth.sperling@alston.com
 5             brooke.bolender@alston.com
 6 SCOTT A. ELDER (admitted pro hac vice)
   ALSTON & BIRD LLP
 7 1201 West Peachtree Street
   Atlanta, GA 30309
 8 Telephone: (404) 881-7000
   Facsimile: (404) 881-7777
 9 E-mail:     scott.elder@alston.com
10 Attorneys for Defendants
   WALMART, INC. and MEREDITH OPERATIONS CORPORATION
11 (erroneously identified as MEREDITH CORPORATION)
12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14
15    WESLEY GIBSON; and                              Case No. 5:22-cv-00238 JWH (KKx)
      ALEXIS GIBSON,
16    individually and as surviving parents and       Assigned for all purposes to the
      as successors-in-interest to Decedent           Honorable John W. Holcomb
17    Wyatt G. Gibson,
                                                      [PROPOSED] STIPULATED
18                Plaintiffs,                         PROTECTIVE ORDER
19          v.                                        Complaint Filed: January 7, 2022
                                                      Second Amended Complaint Filed:
20    WALMART INC.;                                   October 7, 2022
      FLORA CLASSIQUE, INC.;                          Trial Date:     None Set
21    MEREDITH CORPORATION; DOES 1
      through 20;
22    ROE Corporations 1through 20; and
      DOE Employees 1 through 20, inclusive,
23
                  Defendants.
24
25
26
27
28
                                                  1
                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                   Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 23 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:947
                                                                               2634




 1                [PROPOSED] STIPULATED PROTECTIVE ORDER
 2
 3 1.      A. PURPOSES AND LIMITATIONS
 4         Discovery in this action is likely to involve production of confidential,
 5 proprietary, or private information for which special protection from public disclosure
 6 and from use for any purpose other than prosecuting this litigation may be warranted.
 7 Plaintiffs Wesley and Alexis Gibson (the “Plaintiffs”) and Defendants Walmart, Inc.,
 8 Flora Classique, Inc., and Meredith Operations Corporation (erroneously identified as
 9 “Meredith Corporation”) (the “Defendants”) (collectively, the “Parties”) have
10 stipulated, agreed, and have submitted to the Court, and for good cause shown, the
11 Court hereby enters, the following Protective Order.
12         The Parties acknowledge that this Order does not confer blanket protections on
13 all disclosures or responses to discovery and that the protection it affords from public
14 disclosure and use extends only to the limited information or items that are entitled to
15 confidential treatment under the applicable legal principles.
16         The Parties further acknowledge, as set forth below, that this Stipulated
17 Protective Order does not entitle them to file confidential information under seal;
18 Central District of California, Civil Local Rule 79-5 sets forth the procedures that must
19 be followed and the standards that will be applied when a party seeks permission from
20 the court to file material under seal.
21         A. GOOD CAUSE STATEMENT
22         The above-captioned action is likely to involve protected health information,
23 personally identifiable information, trade secrets, customer and pricing lists and other
24 valuable research, development, commercial, financial, technical and/or proprietary
25 information for which special protection from public disclosure and from use for any
26 purpose other than prosecution of this action is warranted. Such confidential and
27 proprietary materials and information consist of, among other things, confidential
28 business or financial information, information regarding confidential business
                                                2
                                                    [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                 Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 34 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:948
                                                                               2635




 1 practices, or other confidential research, development, or commercial information
 2 (including information implicating privacy rights of third parties), information
 3 otherwise generally unavailable to the public, or which may be privileged or otherwise
 4 protected from disclosure under state or federal statutes, court rules, case decisions,
 5 or common law. Accordingly, to expedite the flow of information, to facilitate the
 6 prompt resolution of disputes over confidentiality of discovery materials, to
 7 adequately protect information the Parties are entitled to keep confidential, to ensure
 8 that the Parties are permitted reasonable necessary uses of such material in preparation
 9 for and in the conduct of trial, to address their handling at the end of the litigation, and
10 serve the ends of justice, a protective order for such information is justified in this
11 matter. It is the intent of the Parties that information will not be designated as
12 confidential for tactical reasons and that nothing be so designated without a good faith
13 belief that it has been maintained in a confidential, nonpublic manner, and there is
14 good cause why it should not be part of the public record of this case.
15 2.      DEFINITIONS
16         2.1 Action: This pending federal lawsuit.
17         2.2 Challenging Party: a Party or Non-Party that challenges the designation of
18 information or items under this Order.
19         2.3 “CONFIDENTIAL” Information or Items: information (regardless of how
20 it is generated, stored or maintained) or tangible things that qualify for protection
21 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
22 Statement.
23         2.4 Counsel: Outside Counsel of Record and House Counsel (as well as their
24 support staff).
25         2.5 Designating Party: a Party or Non-Party that designates information or items
26 that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
27         2.6 Disclosure or Discovery Material: all items or information, regardless of the
28 medium or manner in which it is generated, stored, or maintained (including, among
                                                  3
                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                   Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 45 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:949
                                                                               2636




 1 other things, testimony, transcripts, and tangible things), that are produced or
 2 generated in disclosures or responses to discovery in this matter.
 3         2.7 Expert: a person with specialized knowledge or experience in a matter
 4 pertinent to the litigation who has been retained by a Party or its counsel to serve as
 5 an expert witness or as a consultant in this Action.
 6         2.8 House Counsel: attorneys who are employees of a party to this Action.
 7 House Counsel does not include Outside Counsel of Record or any other outside
 8 counsel.
 9         2.9 Non-Party: any natural person, partnership, corporation, association, or
10 other legal entity not named as a Party to this action.
11         2.10 Outside Counsel of Record: attorneys who are not employees of a party to
12 this Action but are retained to represent or advise a party to this Action and have
13 appeared in this Action on behalf of that party or are affiliated with a law firm which
14 has appeared on behalf of that party, and includes support staff.
15         2.11 Party: any party to this Action, including all of its officers, directors,
16 employees, consultants, retained experts, and Outside Counsel of Record (and their
17 support staffs).
18         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
19 Discovery Material in this Action.
20         2.13 Professional Vendors: persons or entities that provide litigation support
21 services (e.g., photocopying, videotaping, translating, preparing exhibits or
22 demonstrations, and organizing, storing, or retrieving data in any form or medium)
23 and their employees and subcontractors.
24         2.14 Protected Material: any Disclosure or Discovery Material that is
25 designated as “CONFIDENTIAL.”
26         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
27 from a Producing Party
28
                                                4
                                                    [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                 Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 56 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:950
                                                                               2637




 1 3.      SCOPE
 2
 3         The protections conferred by this Stipulation and Order cover not only

 4 Protected Material (as defined above), but also (1) any information copied or extracted
 5 from Protected Material; (2) all copies, excerpts, summaries, or compilations of
 6 Protected Material; and (3) any testimony, conversations, or presentations by Parties
 7 or their Counsel that might reveal Protected Material.
 8         Any use of Protected Material at trial shall be governed by the orders of the

 9 trial judge. This Order does not govern the use of Protected Material at trial.
10 4.      DURATION
11
           Even after final disposition of this litigation, the confidentiality obligations
12
     imposed by this Order shall remain in effect until a Designating Party agrees otherwise
13
     in writing or a court order otherwise directs. Final disposition shall be deemed to be
14
     the later of (1) dismissal of all claims and defenses in this Action, with or without
15
     prejudice; and (2) final judgment herein after the completion and exhaustion of all
16
     appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
17
     for filing any motions or applications for extension of time pursuant to applicable law.
18
     5.    DESIGNATING PROTECTED MATERIAL
19
20         5.1 Exercise of Restraint and Care in Designating Material for Protection. Each
21 Party or Non-Party that designates information or items for protection under this Order
22 must take care to limit any such designation to specific material that qualifies under
23 the appropriate standards. The Designating Party must designate for protection only
24 those parts of material, documents, items, or oral or written communications that
25 qualify so that other portions of the material, documents, items, or communications
26 for which protection is not warranted are not swept unjustifiably within the ambit of
27 this Order.
28         Mass, indiscriminate, or routinized designations are prohibited. Designations
                                                  5
                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                   Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 67 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:951
                                                                               2638




 1 that are shown to be clearly unjustified or that have been made for an improper
 2 purpose (e.g., to unnecessarily encumber the case development process or to impose
 3 unnecessary expenses and burdens on other parties) may expose the Designating Party
 4 to sanctions.
 5          If it comes to a Designating Party’s attention that information or items that it
 6 designated for protection do not qualify for protection, that Designating Party must
 7 promptly notify all other Parties that it is withdrawing the inapplicable designation.
 8         5.2 Manner and Timing of Designations. Except as otherwise provided in this
 9 Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated
10 or ordered, Disclosure or Discovery Material that qualifies for protection under this
11 Order must be clearly so designated before the material is disclosed or produced.
12 Designation in conformity with this Order requires:
13            (a)   for information in documentary form (e.g., paper or electronic
14 documents, but excluding transcripts of depositions or other pretrial or trial
15 proceedings), that the Producing Party affix at a minimum, the legend
16 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
17 contains protected material. If only a portion or portions of the material on a page
18 qualifies for protection, the Producing Party also must clearly identify the protected
19 portion(s) (e.g., by making appropriate markings in the margins).
20         A Party or Non-Party that makes original documents available for inspection
21 need not designate them for protection until after the inspecting Party has indicated
22 which documents it would like copied and produced. During the inspection and before
23 the designation, all of the material made available for inspection shall be deemed
24 “CONFIDENTIAL.” After the inspecting Party has identified the documents
25 it wants copied and produced, the Producing Party must determine which documents,
26 or portions thereof, qualify for protection under this Order. Then, before producing
27 the specified documents, the Producing Party must affix the “CONFIDENTIAL”
28 legend to each page that contains Protected Material. If only a portion or portions of
                                                6
                                                    [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                 Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 78 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:952
                                                                               2639




 1 the material on a page qualifies for protection, the Producing Party must also clearly
 2 identify the protected portion(s) (e.g., by making appropriate markings in the
 3 margins).
 4      (b)      for testimony given in depositions that the Designating Party identify the

 5 Disclosure or Discovery Material on the record, before the close of the deposition all
 6 protected testimony.
 7         (c)   for information produced in some form other than documentary and for

 8 any other tangible items, that the Producing Party affix in a prominent place on the
 9 exterior of the container or containers in which the information is stored the legend
10 “CONFIDENTIAL.” If only a portion or portions of the information warrants
11 protection, the Producing Party, to the extent practicable, shall identify the protected
12 portion(s).
13       5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent failure

14 to designate qualified information or items does not, standing alone, waive the
15 Designating Party’s right to secure protection under this Order for such material. Upon
16 timely correction of a designation, the Receiving Party must make reasonable efforts
17 to assure that the material is treated in accordance with the provisions of this Order.
18 6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
19         6.1   Timing of Challenges. Any Party or Non-Party may challenge a
20 designation of confidentiality at any time that is consistent with the Court’s
21 Scheduling Order.
22         6.2   Meet and Confer. The Challenging Party shall initiate the dispute
23 resolution process under Local Rule 37.1 et seq.
24         6.3   The burden of persuasion in any such challenge proceeding shall be on
25 the Designating Party. Frivolous challenges, and those made for an improper purpose
26 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
27 expose the Challenging Party to sanctions. Unless the Designating Party has waived
28 or withdrawn the confidentiality designation, all parties shall continue to afford the
                                                7
                                                    [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                 Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 89 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:953
                                                                               2640




 1 material in question the level of protection to which it is entitled under the Producing
 2 Party’s designation until the Court rules on the challenge.
 3 7.      ACCESS TO AND USE OF PROTECTED MATERIAL

 4         7.1   Basic Principles. A Receiving Party may use Protected Material that is

 5 disclosed or produced by another Party or by a Non-Party in connection with this
 6 Action only for prosecuting, defending, or attempting to settle this Action. Such
 7 Protected Material may be disclosed only to the categories of persons and under the
 8 conditions described in this Order. When the Action has been terminated, a Receiving
 9 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
10       Protected Material must be stored and maintained by a Receiving Party at a
11 location and in a secure manner that ensures that access is limited to the persons
12 authorized under this Order.
13         7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
14 otherwise ordered by the court or permitted in writing by the Designating Party, a
15 Receiving Party may disclose any information or item designated “CONFIDENTIAL”
16 only to:
17         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
18 employees of said Outside Counsel of Record to whom it is reasonably necessary to
19 disclose the information for this Action;
20         (b) the officers, directors, and employees (including House Counsel) of the
21 Receiving Party to whom disclosure is reasonably necessary for this Action;
22         (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure
23 is reasonably necessary for this Action and who have signed the “Acknowledgment
24 and Agreement to Be Bound” (Exhibit A);
25         (d) the court and its personnel;
26         (e) court reporters and their staff;
27
28
                                                  8
                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                   Case No. 5:22-cv-00238 JWH (KKx)
Case
 Case5:23-cv-05118-TLB
      5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                     68 Filed
                                        Filed 11/01/23
                                              01/20/23 Page
                                                       Page 10
                                                            9 ofof15
                                                                   16 PageID
                                                                      Page ID#:#:954
                                                                                 2641




  1         (f) professional jury or trial consultants, mock jurors, and Professional Vendors

  2 to whom disclosure is reasonably necessary for this Action and who have signed the
  3 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  4         (g) the author or recipient of a document containing the information or a

  5 custodian or other person who otherwise possessed or knew the information;
  6       (h) during their depositions, witnesses ,and attorneys for witnesses, in the

  7 Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  8 requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
  9 not be permitted to keep any confidential information unless they sign the
 10 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
 11 by the Designating Party or ordered by the court. Pages of transcribed deposition
 12 testimony or exhibits to depositions that reveal Protected Material may be separately
 13 bound by the court reporter and may not be disclosed to anyone except as permitted
 14 under this Stipulated Protective Order; and
 15         (i) any mediator or settlement officer, and their supporting personnel, mutually

 16 agreed upon by any of the parties engaged in settlement discussions.
 17 8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
    OTHER LITIGATION
 18
           If a Party is served with a subpoena or a court order issued in other litigation
 19
    that compels disclosure of any information or items designated in this Action as
 20
    “CONFIDENTIAL,” that Party must:
 21
           (a) promptly notify in writing the Designating Party. Such notification shall
 22
    include a copy of the subpoena or court order;
 23
           (b) promptly notify in writing the party who caused the subpoena or order to
 24
    issue in the other litigation that some or all of the material covered by the subpoena or
 25
    order is subject to this Protective Order. Such notification shall include a copy of this
 26
    Stipulated Protective Order; and
 27
 28
                                                 9
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                  Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 10
                                                           11 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:955
                                                                               2642




  1         (c) cooperate with respect to all reasonable procedures sought to be pursued by

  2 the Designating Party whose Protected Material may be affected.
  3       If the Designating Party timely seeks a protective order, the Party served with

  4 the subpoena or court order shall not produce any information designated in this action
  5 as “CONFIDENTIAL” before a determination by the court from which the subpoena
  6 or order issued, unless the Party has obtained the Designating Party’s permission. The
  7 Designating Party shall bear the burden and expense of seeking protection in that court
  8 of its confidential material and nothing in these provisions should be construed as
  9 authorizing or encouraging a Receiving Party in this Action to disobey a lawful
 10 directive from another court.
 11 9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    PRODUCED IN THIS LITIGATION
 12
           (a) The terms of this Order are applicable to information produced by a Non-
 13
    Party in this Action and designated as “CONFIDENTIAL.” Such information
 14
    produced by Non-Parties in connection with this litigation is protected by the remedies
 15
    and relief provided by this Order. Nothing in these provisions should be construed as
 16
    prohibiting a Non-Party from seeking additional protections.
 17
           (b) In the event that a Party is required, by a valid discovery request, to produce
 18
    a Non-Party’s confidential information in its possession, and the Party is subject to an
 19
    agreement with the Non-Party not to produce the Non-Party’s confidential
 20
    information, then the Party shall:
 21
                (1) promptly notify in writing the Requesting Party and the Non-Party that
 22
    some or all of the information requested is subject to a confidentiality agreement with
 23
    a Non-Party;
 24
                (2) promptly provide the Non-Party with a copy of the Stipulated Protective
 25
    Order in this Action, the relevant discovery request(s), and a reasonably specific
 26
    description of the information requested; and
 27
 28
                                                 10
                                                      [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                   Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 11
                                                           12 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:956
                                                                               2643




  1             (3) make the information requested available for inspection by the Non-

  2 Party, if requested.
  3        (c) If the Non-Party fails to seek a protective order from this court within 14

  4 days of receiving the notice and accompanying information, the Receiving Party may
  5 produce the Non-Party’s confidential information responsive to the discovery request.
  6 If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
  7 any information in its possession or control that is subject to the confidentiality
  8 agreement with the Non-Party before a determination by the court. Absent a court
  9 order to the contrary, the Non-Party shall bear the burden and expense of seeking
 10 protection in this court of its Protected Material.
 11 10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 12         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 13 Protected Material to any person or in any circumstance not authorized under this
 14 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 15 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 16 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 17 persons to whom unauthorized disclosures were made of all the terms of this Order,
 18 and (d) request such person or persons to execute the “Acknowledgment and
 19 Agreement to Be Bound” that is attached hereto as Exhibit A.
 20 11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 21 PROTECTED MATERIAL
 22         When a Producing Party gives notice to Receiving Parties that certain
 23 inadvertently produced material is subject to a claim of privilege or other protection,
 24 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 25 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 26 may be established in an e-discovery order that provides for production without prior
 27 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 28 parties reach an agreement on the effect of disclosure of a communication or
                                                11
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                  Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 12
                                                           13 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:957
                                                                               2644




  1 information covered by the attorney-client privilege or work product protection, the
  2 parties may incorporate their agreement in the stipulated protective order submitted to
  3 the court.
  4 12.     MISCELLANEOUS
  5
            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  6
      person to seek its modification by the Court in the future.
  7
            12.2 Right to Assert Other Objections. By stipulating to the entry of this
  8
      Protective Order no Party waives any right it otherwise would have to object to
  9
      disclosing or producing any information or item on any ground not addressed in this
 10
      Stipulated Protective Order. Similarly, no Party waives any right to object on any
 11
      ground to use in evidence of any of the material covered by this Protective Order.
 12
            12.3 Filing Protected Material. A Party that seeks to file under seal any
 13
      Protected Material must comply with Civil Local Rule 79-5. Protected Material may
 14
      only be filed under seal pursuant to a court order authorizing the sealing of the specific
 15
      Protected Material at issue. If a Party’s request to file Protected Material under seal is
 16
      denied by the court, then the Receiving Party may file the information in the public
 17
      record unless otherwise instructed by the court.
 18
      13.   FINAL DISPOSITION
 19
            After the final disposition of this Action, as defined in paragraph 4, within 60
 20
      days of a written request by the Designating Party, each Receiving Party must return
 21
      all Protected Material to the Producing Party or destroy such material. As used in this
 22
      subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 23
      summaries, and any other format reproducing or capturing any of the Protected
 24
      Material. Whether the Protected Material is returned or destroyed, the Receiving Party
 25
      must submit a written certification to the Producing Party (and, if not the same person
 26
      or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
 27
      category, where appropriate) all the Protected Material that was returned or destroyed
 28
                                                  12
                                                       [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                    Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 13
                                                           14 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:958
                                                                               2645




  1 and (2)affirms that the Receiving Party has not retained any copies, abstracts,
  2 compilations, summaries or any other format reproducing or capturing any of the
  3 Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
  4 archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
  5 legal memoranda, correspondence, deposition and trial exhibits, expert reports,
  6 attorney work product, and consultant and expert work product, even if such materials
  7 contain Protected Material. Any such archival copies that contain or constitute
  8 Protected Material remain subject to this Protective Order as set forth in Section 4
  9 (DURATION).
 10     Any violation of this Order may be punished by any and all appropriate

 11 measures including, without limitation, contempt proceedings and/or monetary
 12 sanctions.
 13 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 14
     Dated: ___________________, 20__ By: M. Alan Holcomb
 15                                   M. Alan Holcomb
                                      TURNBULL, HOLCOMB &
 16                                   LEMOINE, PC
                                      Counsel for Plaintiffs Wesley and
 17                                   Alexis Gibson
 18 Dated: ___________________, 20__  By: /s/ Scott A. Elder
                                      Scott A. Elder (pro hac vice)
 19                                   Signed with express permission by
                                      M. Alan Holcomb
 20                                   ALSTON & BIRD LLP
                                      Counsel for Defendant Walmart,
 21                                   Inc. and Meredith Operations
                                      Corporation (erroneously identified
 22                                   as Meredith Corporation)
 23   Dated: ___________________, 20__                By: /s/ Arameh Z O’Boyle
                                                      Arameh Z. O'Boyle
 24                                                   Signed with express permission by
                                                      M. Alan Holcomb
 25                                                   MINTZ LEVIN COHN FERRIS
                                                      GLOVSKY AND POPEO, P.C.
 26                                                   Counsel for Defendant Flora
                                                      Classique, Inc.
 27
 28
                                                 13
                                                       [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                    Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 14
                                                           15 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:959
                                                                               2646




  1                       EXHIBIT A TO PROTECTIVE ORDER
  2        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3
  4        I, _____________________________ [print or type full name], of
  5 _________________ [print or type full address], declare under penalty of perjury that
  6 I have read in its entirety and understand the Stipulated Protective Order that was
  7 issued by the United States District Court for the Central District of California on
  8 [date] in the case of Gibson, et al. v. Walmart, Inc., et al, Case No. 5:22-cv-00238
  9 JWH (KKx). I agree to comply with and to be bound by all the terms of this Stipulated
 10 Protective Order and I understand and acknowledge that failure to so comply could
 11 expose me to sanctions and punishment in the nature of contempt. I solemnly promise
 12 that I will not disclose in any manner any information or item that is subject to this
 13 Stipulated Protective Order to any person or entity except in strict compliance with
 14 the provisions of this Order.
 15        I further agree to submit to the jurisdiction of the United States District Court
 16 for the Central District of California for the purpose of enforcing the terms of this
 17 Stipulated Protective Order, even if such enforcement proceedings occur after
 18 termination of this action. I hereby appoint __________________________ [print or
 19 type full name] of _______________________________________ [print or type full
 20 address and telephone number] as my California agent for service of process in
 21 connection with this action or any proceedings related to enforcement of this
 22 Stipulated Protective Order
 23
      DATED: _____________, 20__
 24                                                    Name
 25
 26
 27
 28
                                                14
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                  Case No. 5:22-cv-00238 JWH (KKx)
Case
Case 5:23-cv-05118-TLB
     5:22-cv-00238-JWH-KK
                       Document
                           Document
                                106-33
                                    68 Filed
                                       Filed 01/20/23
                                             11/01/23 Page
                                                      Page 15
                                                           16 of
                                                              of 15
                                                                 16 PageID
                                                                     Page ID#:#:960
                                                                               2647




  1                             CERTIFICATE OF SERVICE
  2        I, Elizabeth A. Sperling, certify and declare as follow:
  3        1.     I am over the age of 18 and not a party to this action.
  4        2.     My business address is 333 South Hope Street, 16th Floor, Los Angeles,
  5 CA 90071-1410.
  6        3.     On January 20, 2023, I caused a copy of [PROPOSED] STIPULATED
  7 PROTECTIVE ORDER to be served upon the following counsel via the Court’s
  8 CM/ECF system:
  9
 10        I declare under penalty of perjury under the laws of the United States of
 11 America that the forgoing is true and correct.
 12        Executed on January 20, 2023, at Los Angeles, California.
 13
                                                       /s/ Elizabeth A. Sperling
 14                                                    Elizabeth A. Sperling
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                15
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
                                                                  Case No. 5:22-cv-00238 JWH (KKx)
